 Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 1 of 24




                   UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT



145 SISSON AVENUE, LLC

                 PLAINTIFF                    CIVIL ACTION NO.:

V.                                            3:23-CV-00903-MPS

ARON PURETZ

                 DEFENDANT
                                              JUNE 28, 2024

                   FIRST AFFIDAVIT OF RETURNED
                  POST-JUDGMENT INTERROGATORIES

     I, Houston Putnam Lowry, do affirm and say:

     1.    I am over the age of 18 years.

     2.    I believe in the obligation of an affirmation.

     3.    I have personal knowledge of the facts contained

herein.

     4.    On June 18, 2024, the post-judgment

interrogatories attached as Exhibit 1 were sent to Clemons

Manager LLC at the address registered with the State of New

Jersey.

     5.    On June 28, 2024, the priority mail envelope

attached as Exhibit 2 was returned, indicating the address

was incorrect.

     6.    On June 18, 2024, the post-judgment

interrogatories attached as Exhibit 3 were sent to Paxe
  Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 2 of 24




Garden GP, LLC at the address registered with the State of

New Jersey.

           7.        On June 28, 2024, the priority mail envelope

attached as Exhibit 4 was returned, indicating the address

was incorrect.

           8.        On June 18, 2024, the post-judgment

interrogatories attached as Exhibit 5 were sent to {axe

Hartford Portfolio GP, LLC at the address registered with

the State of New Jersey.

           9.        On June 28, 2024, the priority mail envelope

attached as Exhibit 6 was returned, indicating the address

was incorrect.

     Pursuant to 28 U.S.C. §1746, I declare under penalty of
perjury under the laws of the United States of America that
the foregoing is true and correct.

Executed on Friday, Jun~                                               .



                                                                                                Low--ry




                                                            - 2 -
G:\2433 Constitution Credit LLC\007 South Green P1tfolio v. Paxe Sisson CT Lmtd Partnership loan\Federal-145 Sisson Guranty
action\ 145 Sisson v. Gurantor affidavit of retumed PJ-INT 2024-06-28.doc
Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 3 of 24




     EXHIBIT 1
                        Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 4 of 24

                                                                                              USPS TRACKING#    9114 9023 0722 4263 2766 19
                                                                                              & CUSTOMER            For Tracking or Inquiries go lo USPS.com
                                                                                              RECEIPT LABEL (ROLL)  or call 1-B00-222-1811.


POST JUDGMENT REMEDIES                                               ST A TE OF CONNECTICUT
INTERROGATORIES                                                          SUPERIOR COURT
JD-CV-23 Rev. 11-10                                                         www.jud.ct.gov
Gen. Stat.§§ 52-321a, 52-351b, 52-352b,
52-361a, 52-361b, 52-400a, 52-400c
                                                             Form JD-CV-23a must be attached lo this form

           ·,al   •     H   .            eograph,cal                                                                          Docket number
      Jud'c              ous,ng         Area
 ~ Distncl            D Session D number                         At US District Court of Connecticut                          3:23-CV-00903-MPS
 Address of court (Number, street, town, and zip code)
 450 Main Street, Suite A012, Hartford, CT 06103
 Dale of judgment                                                     Original amount of judgment                             Amount due on the judgmenl
 04/25/2024
 Name of creditor (Person or business judgment is for)
                                                                       $2,152,787.36
                                                                      Address of judgment creditor (Street and town)
                                                                                                                            I   $2,152,787.36

 145 Sisson Avenue, LLC                                               91 South Main Street, Wallingford, CT 06492
 Name of judgment debtor (Person or business judgment is against)     Address of judgment debtor (Street and town)
 Aron Puretz                                                          43 Fenway Circle, Staten Island, NY 10308-1240
 Name and address of person believed to have assets of judgment debtor (II applicable)
 Clemens Manager LLC • Agent: David Helfgott, 36 Airport Road, Lakewood, NJ 08701
 Date interrogatories were served (Delivered)    Name and address of person that interrogatories must be returned lo
 06/18/2024 F,)                                  Houston Putnam Lowry, Esq., 280 Trumbull Street, Floor 22, Hartford, CT 06103

 Instructions To:
' Judgment Creditor:
  Put an "X" in the box next to the questions to be answered on form JD-CV-23a that is attached lo this form.
  Person who received interrogatories:
  Answer the questions indicated by an "X" on form JD-CV-23a that is attached lo this form . You must give inforf!)alion that you have about the assets of the
  judgment debtor up to an amount clear enough lo satisfy the judgment indicated by the "Amount due on t11e judgment" above. Place yollr answers in the
  space provided on the form. If you need more space lo answer the questions, use the space on the back of form JD-CV-23a or attach additional sheets to
  /his form.

 Notice
Do not file the interrogatories, the notice of interrogatories or the objections to the interrogatories with the court.
The person who received these interrogatories must answer and return them within 30 days of the date of their service
{delivery) to the person named above.
If the person who received these interrogatories does not answer and return them within 30 days or does not within 30 days
disclose assets of the judgment debtor that are enough for execution, or if the person who received the interrogatories objects
within 30 days, the judgment creditor may ask the court for additional discovery orders that may be necessary to make sure
that disclosure is made including (1) an order for compliance with the interrogatories or {2) an order authorizing additional
interrogatories. The judgment creditor may ask for and get discovery, including the taking of depositions, from any person
served with interrogatories under the procedures for discovery in civil actions without the court ordering it. The court may
order additional discovery as justice requires. If the person asked for discovery does not disclose the judgment debtor's
assets, that person may be held in contempt of court. Attorney's fees may be allowed for counsel at a contempt hearing
necessary to enforce a court order and for counsel at any discovery hearing required because these interrogatories were not
answered.

Notice Of Rights To Person Served
1. Under Section 52-351b of the General Statutes, you must disclose information about the amount, nature and location of
   the judgment debtor's assets up to an amount clearly enough in value for full satisfaction of the judgment with interest and
   costs .
2. Under subsection (d) of Section 52-351b of the General Statutes, any party who must disclose information about the
   judgment debtor's assets may apply to the court to be protected from annoyance, embarrassment, oppression or undue
   burden or expense.
3. Certain personal property of the judgment debtor is exempt from execution (cannot be used to satisfy judgment). The
   following list is a description of common types of property that are exempt from execution from a judgment debtor who is
   a natural person . (Section 52-352b of the General Statutes).
     (a) Apparel, bedding, foodstuffs, household furniture and appliances that are needed by the judgment debtor to live;
     (b) Tools, books, instruments, farm animals and livestock feed that are needed by the judgment debtor in the course
         of his or her occupation, or profession, farming operation or farming partnership;
     (c) Public assistance payments and any wages earned by a public assistance recipient under an incentive earnings
         or similar program;
                                                                          (Continued on page 2)
                      Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 5 of 24




      (d) Health and disability insurance payments;
      (e) Health aids that are needed by the judgment debtor to work or to keep healthy;
      (f) Worker's compensation , social security, veterans and unemployment benefits;
      (g) Court approved payments for child support;
      (h) Arms (weapons) and military equipment, uniforms or musical instruments owned by any member of the militia or
           armed forces of the United States;
      (i) One motor vehicle worth up to $3,500.00. The value of the motor vehicle must be determined as the fair market
           value of the motor vehicle minus the amount of all liens and security interests which are on it;
      0) Wedding and engagement rings;
      (k) Residential utility deposits for one residence and one residential security deposit;
      (I) Any assets or interests of a judgment debtor in, or payments received by the judgment debtor from , a plan or
           arrangement described in Section 52-321 a of the General Statutes, including, but not limited to, certain trust or
           retirement income or certain retirement, education, or medical savings accounts;
      (m) Alimony and support, other than child support, but only to the extent that wages are exempt from execution under
           Section 52-361 a of the General Statutes;
      (n) An award under a crime reparations act;
      (o) All benefits allowed by any association of persons in this state to support any of its members that are
          incapacitated by sickness or infirmity from attending to his or her usual business;
      (p) All moneys that are owed to the judgment debtor from any insurance company on any insurance policy on
          exempt property, up to the same amount that the property was exempt;
      (q) Burial plot for the judgment debtor and his or her immediate family;
      (r) Transfers of money that cannot be taken back (revoked) to an account held by a debt adjuster licensed under
          Sections 36a-655 to 36a-665 of the General Statutes for the benefit of creditors of the judgment debtor;
      (s) Any interest of the judgment debtor in any property worth not more than $1,000.00;
      (t) Any interest of the judgment debtor worth not more than $4,000.00 in any accrued dividend or interest under, or
          loan value of, any unmatured life insurance contract owned by the judgment debtor under which the insured is
          the judgment debtor or is an individual who the judgment debtor is a dependent of; and
      (u) The homestead (home) of the judgment debtor worth not more than $75,000.00, or, in the case of a money
          judgment arising out of services provided at a hospital worth not more than $125,000.00, the value must be
          determined as the fair market value of the real property minus the amount of any statutory or agreed on
          (consensual) lien which is on the property.




JD-CV-23 Rev. 11-10 (Page 2 of 2)
                      Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 6 of 24

                                                                    INSTRUCTIONS
JUDGMENT CREDITOR: Complete Name of Case and Docket No. , put an "X" in the box next to the items to be answered .
PERSON SERVED WITH INTERROGATORIES: Answer the questions indicated by Ix] . You must disclose assets of the judgment debtor up to an
amount clearly sufficient to satisfy the judgment indicated by the "Amount Due Thereon" on the attached form JD-CV-23. Place answers in space provided on
this form. If you need more room to answer these questions, use the space on page 2 of attached form JD-CV-23 or attach additional sheets. You must
answer the questions and return them to the person named on attached form JD-CV-23 within thirty days of the date of service.

 NAME OF CASE                                                                                                        DOCKET NO.
 145 Sisson Avenue, LLC vs. Aron Puretz                                                                             3:23CV903(MPS)

                                                              I. JUDGMENT DEBTOR
      STATE YOUR NAME, ADDRESS, AND TELEPHONE NO.
Ix]
      ~--------------------------------------------------'
D Are you presently employed?                  0 NO               D YES (If yes, complete the information below)
      NAME, ADDRESS, AND TELEPHONE NO. OF YOUR EMPLOYER


      YOUR JOB TITLE OR POSITION


      NAME, ADDRESS OF EACH BOOKKEEPER, PAYROLL CLERK OR OTHER PERSON HAVING RECORDS OF SALARIES OR OTHER SUMS OF MONEY PAID TO YOU
      BY YOUR PRESENT EMPLOYER



      IF YOU RECEI VE ADDITIONAL COMPENSATION FOR OVERTIME, STATE (1) RATE OF OVERTIME PAY AND (2) THE AVERAGE NO. OF HOURS OF OVERTIME YOU
      WORK PER WEEK



      STATE THE DATE ON WHICH YOU ARE PAID FOR BOTH REGULAR AND OVERTIME WORK



       Are you receiving any income from any source not
□      disclosed in your answers to the foregoing questions?               0 NO            D YES (If yes, complete the information below)
      STATE THE SOURCE(S) OF SUCH INCOME                                                                       IAMOUNT RECEIVED EACH WEEK


      IF THERE ARE ANY PAYMENTS DUE FROM THE ABOVE SOURCE STATE (1) THE AMOUNT DUE AND (2) NAME AND ADDRESS OF PARTY FROM WHOM IT IS DUE




□      List all banks, savings and loan associations, credit unions or other financial institutions in which you maintain an account
       of any kind, giving in your answer the following: (You need only disclose assets clearly sufficient to ensure full satisfaction
       of the judgment with interest and costs.)
      NAME AND ADDRESS OF INSTITUTION                                           NAME AND ADDRESS OF INSTITUTION


      NAME IN WHICH ACCOUNT IS HELD                                             NAME IN WHICH ACCOUNT IS HELD


      ACCOUNT NO.                       IPRESENT BALANCE($)                     ACCOUNT NO.                          IPRESENT BALANCE($)


      IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)                 IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)




□     List all nonexempt personal property in which you have an interest, whether legal or beneficial, which in total value is clearly sufficient to
      ensure full satisfaction of the judgment with interest and costs, including but not limited to (a) cash on hand, (b) household goods and
      supplies and furnishings, (c) stamp and/or coin collections and other collections, (d) wearing apparel, (e) jewelry, (f) watches, (g)
      automobiles, (h) trucks, (i) trailers or other motor vehicles, U) boats, motors and accessories. As to each such item of property give the
      precise description and location, the approximate value of such property and whether or not such property is subject to any form of
      security interest, lien or encumbrance. If so, state the name and address of such holder of a security interest, lien or encumbrance, the
      nature of the instrument evidencing the same and the amount of the instrument. (If additional space is necessary, attach a separate
      sheet to this form.)




□     State whether any of your nonexempt personal property is in the hands of a third person . If so, describe the property involved, the
      person or persons so holding the property, the reason the property is so held and any consideration that may have passed therefor.




JD-CV-23a (Page 1 of 2) Rev. 6-2000                                                                                             www.jud.state. ct.us
                     Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 7 of 24

D List all real estate in your name which in total value is clearly sufficient to ensure full satisfaction of the judgment with
    interest and costs (where possible give street address).




D List your accounts receivable which in total value are clearly sufficient to ensure full satisfaction of the judgment with
    interest and costs giving a) the name of the party, b) the amount owed, and c) the date the debt was incurred. (If additional
    space is needed, attach a separate sheet to this form.)




                                                               II. EMPLOYER
D Is the Judgment Debtor employed by you?                 D NO              D YES (If yes, complete the information below)
   YOUR NAME, ADDRESS, AND TELEPHONE NO.


   EMPLOYEE'S NORMAL WORKING HOURS                                      IEMPLOYEE'S GROSS SALARY PER HOUR, WEEK, MONTH , OR YEAR


   THE DATES ON WHICH EMPLOYEE IS PAID FOR BOTH REGULAR AND OVERTIME WORK


   NAME, ADDRESS, AND TELEPHONE NO. OF THE BOOKKEEPER, PAYROLL CLERK OR OTHER PERSON WHO DISBURSES EMPLOYEE'S WAGES OR SALARY




                                                         Ill. FINANCIAL INSTITUTION
D Does the Judgment Debtor maintain an account of any kind with your institution?                 D NO         □ YES
   (If yes, complete the information below. You may disclose only whether you hold funds of the Judgment debtor on account and the
   balance of such funds if so held, up to the amount necessary to satisfy the Judgment.)
   YOUR NAME, ADDRESS, AND TELEPHONE NO.


   NAME, ADDRESS, AND TELEPHONE NO. OF YOUR INSTITUTION


   ACCOUNT NO. OF EACH ACCOUNT                                          INAME IN WHICH THE ACCOUNT IS HELD
   PRESENT BALANCE IN EACH ACCOUNT


   IF JOINT ACCOUNT, THE NAME AND ADDRESS OF THE OTHER PERSON(S)



                             IV. THIRD PERSON IN POSSESSION OF JUDGMENT DEBTOR'S PROPERTY
[8] Are you in possession of nonexempt personal property belonging to the judgment debtor?                   D NO            0 YES
    (If yes, complete the following information.)
   YOUR NAME, ADDRESS, AND TELEPHONE NO.


   DESCRIBE THE PROPERTY, THE REASON YOU ARE HOLDING IT AND ANY CONSIDERATION THAT MAY HAVE PASSED FOR YOUR HOLDING THE PROPERTY.




   LOCATION OF THE PROPERTY



                         V. SIGNATURE OF PERSON COMPLETING THIS FORM OR AUTHORIZED AGENT
Ix] NOTE: Interrogatories served on a judgment debtor shall be signed by such debtor under penalty of false statement.
   SIGNED (Person completing form or authorized agent)     PRINT NAME OF PERSON SIGNING AT LEFT                DATE SIGNED



   JD-CV-23a (Page 2 of 2) Rev. 6-2000
Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 8 of 24




     EXHIBIT 2
                                           Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 9 of 24




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                                                                               Agent: David Helfgott




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                                                                               Lakewood, NJ 08701
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Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 10 of 24




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        EXHIBIT 3
                   Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 11 of 24

                                                                                                    USPS TRACKING#    9114 9023 0722 4263 2766 26
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POST JUDGMENT REMEDIES                                                STATE OF CONNECTICUT
INTERROGATORIES                                                          SUPERIOR COURT
JD-CV-23 Rev. 11-10                                                        www.jud.ct.gov
Gen. Slat.§§ 52-321a, 52-351b, 52-352b,
52-361a, 52-361b, 52-400a, 52-400c
                                                            Form JD-CV~23a must be attached to this form
                                                                                                                                Docket ,number
    Jud ·,c·ial        H .•
                        ousIng
                                       Geographical
                                       Area
[R) District       D   Session    D    number                    Al   US District Court of Connecticut                          3:23-CV-00903-MPS
Address or court (Number, street, town, and zip code)
450 Main Street, Suite A012, Hartford, CT 06103


                                                                                                                            l
Dale of judgment                                                      Original amount or judgment                               Amount due on lhe judgment
04/25/2024                                                             $2,152,787.36                                            $2,152,787.36
Name or creditor (Person or business judgment is for)                 Address or judgment creditor (Street and town)
145 Sisson Avenue, LLC                                                91 South Main Street, Wallingford, CT 06492
Name or judgment debtor (Person or business judgment is against)      Address or judgment debtor (Street and town)
Aron Puretz                                                           43 Fenway Circle, Staten Island, NY 10308-1240
Name and address or person believed lo have ass els or Judgment debtor (If app!,cab/e)
PAXE Garden GP LLC - Agent: David Helfgott, 36 Airport Road, Lakewood, NJ 08701
Dale interrogatories were served (Delivered)    Name and address of person Iha! interrogatories must be returned to
06/18/2024t{~                                   Houston Putnam Lowry, Esq., 280 Trumbull Street, Floor 22, Hartford, CT 06103

Instructions To:
Judgment Creditor:
 Put an "X" in the box next to the questions to be answered on form JD-CV-23a that is attached to this form.
 Person who received interrogatories:
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judgment debtor up to an amount clear enough to satisfy the judgment indicated by the "Amount due on the judgment" above. Place your answers in the
space provided on the form. If you need more space to answer the questions, use the space on the back of form JD-CV-23a or attach additional sheets to
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Notice
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{delivery) to the person named above.
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within 30 days, the judgment creditor may ask the court for additional discovery orders that may be necessary to make sure
that disclosure is made including (1) an order for compliance with the interrogatories or (2) an order authorizing additional
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assets, that person may be held in contempt of court. Attorney's fees may be allowed for counsel at a contempt hearing
necessary to enforce a court order and for counsel at any discovery hearing required because these interrogatories were not
answered.

Notice Of Rights To Person Served
1.   Under Section 52-351 b of the General Statutes, you must disclose information about the amount, nature and location of
     the judgment debtor's assets up to an amount clearly enough in value for full satisfaction of the judgment with interest and
     costs.
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     (b) Tools, books, instruments, farm animals and livestock feed that are needed by the judgment debtor in the course
         of his or her occupation, or profession, farming operation or farming partnership;
     (c) Public assistance payments and any wages earned by a public assistance recipient under an incentive earnings
         or similar program;
                                                                         (Continued on page 2)
                     Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 12 of 24




      (d) Health and disability insurance payments;
      (e) Health aids that are needed by the judgment debtor to work or to keep healthy;
      (f) Worker's compensation, social security, veterans and unemployment benefits;
      (g) Court approved payments for child support;
      (h) Arms (weapons) and military equipment, uniforms or musical instruments owned by any member of the militia or
           armed forces of the United States;
      (i) One motor vehicle worth up to $3,500.00. The value of the motor vehicle must be determined as the fair market
           value of the motor vehicle minus the amount of all liens and security interests which are on it;
      U) Wedding and engagement rings ;
      (k) Residential utility deposits for one residence and one residential security deposit;
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           arrangement described in Section 52-321 a of the General Statutes, including, but not limited to, certain trust or
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      (o) All benefits allowed by any association of persons in this state to support any of its members that are
           incapacitated by sickness or infirmity from attending to his or her usual business;
      (p) All moneys that are owed to the judgment debtor from any insurance company on any insurance policy on
          exempt property, up to the same amount that the property was exempt;
      (q) Burial plot for the judgment debtor and his or her immediate family;
      (r) Transfers of money that cannot be taken back (revoked) to an account held by a debt adjuster licensed under
          Sections 36a-655 to 36a-665 of the General Statutes for the benefit of creditors of the judgment debtor;
      (s) Any interest of the judgment debtor in any property worth not more than $1,000.00;
      (t) Any interest of the judgment debtor worth not more than $4,000.00 in any accrued dividend or interest under, or
          loan value of, any unmatured life insurance contract owned by the judgment debtor under which the insured is
          the judgment debtor or is an individual who the judgment debtor is a dependent of; and
      (u) The homestead (home) of the judgment debtor worth not more than $75,000.00, or, in the case of a money
          judgment arising out of services provided at a hospital worth not more than $125,000.00, the value must be
          determined as the fair market value of the real property minus the amount of any statutory or agreed on
          (consensual) lien which is on the property.




JD-CV-23 Rev. 11-10 (Page 2 of 2)
                     Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 13 of 24

                                                                    INSTRUCTIONS
JUDGMENT CREDITOR: Complete Name of Case and Docket No., put an "X" in the box next to the items to be answered .
PERSON SERVED WITH INTERROGATORIES: Answer the questions indicated by [xi . You must disclose assets of the judgment debtor up to an
amount clearly sufficient to satisfy the judgment indicated by the "Amount Due Thereon" on the attached form JD-CV-23. Place answers in space provided on
this form. If you need more room to answer these questions, use the space on page 2 of attached form JD-CV-23 or attach additional sheets. You must
answer the questions and return them to the person named on attached form JD-CV-23 within thirty days of the date of service.

 NAME OF CASE                                                                                                        DOCKET NO.
 145 Sisson Avenue, LLC vs. Aron Puretz                                                                             3:23CV903(MPS)

                                                              I. JUDGMENT DEBTOR
      STATE YOUR NAME, ADDRESS, AND TELEPHONE NO.
[xi
      '-----------------------------------------------------'
D Are you presently employed?                  □ NO               D YES (If yes, complete the information below)
      NAME, ADDRESS, AND TELEPHONE NO. OF YOUR EMPLOYER


      YOUR JOB TITLE OR POSITION


      NAME, ADDRESS OF EACH BOOKKEEPER , PAYROLL CLERK OR OTHER PERSON HAVING RECORDS OF SALARIES OR OTHER SUMS OF MONEY PAID TO YOU
      BY YOUR PRESENT EMPLOYER



      IF YOU RECEIVE ADDITIONAL COMPENSATION FOR OVERTIME, STATE (1) RATE OF OVERTIME PAY AND (2) THE AVERAGE NO. OF HOURS OF OVERTIME YOU
      WORK PER WEEK



      STATE THE DATE ON WHICH YOU ARE PAID FOR BOTH REGULAR AND OVERTIME WORK



       Are you receiving any income from any source not
□      disclosed in your answers to the foregoing questions?               □ NO            D YES (If yes, complete the information below)
      STATE THE SOURCE(S) OF SUCH INCOME                                                                       IAMOUNT RECEIVED EACH WEEK


      IF THERE ARE ANY PAYMENTS DUE FROM THE ABOVE SOURCE STATE (1) THE AMOUNT DUE AND (2) NAME AND ADDRESS OF PARTY FROM WHOM IT IS DUE




□      List all banks, savings and loan associations, credit unions or other financial institutions in which you maintain an account
       of any kind, giving in your answer the following : (You need only disclose assets clearly sufficient to ensure full satisfaction
       of the judgment with interest and costs.)
      NAME AND ADDRESS OF INSTITUTION                                           NAME AND ADDRESS OF INSTITUTION


      NAME IN WHICH ACCOUNT IS HELD                                             NAME IN WHICH ACCOUNT IS HELD


      ACCOUNT NO.                       I PRESENT BALANCE ($)                   ACCOUNT NO.                          IPRESENT BALANCE($)


      IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)                 IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)




□      List all nonexempt personal property in which you have an interest, whether legal or beneficial, which in total value is clearly sufficient to
       ensure full satisfaction of the judgment with interest and costs, including but not limited to (a) cash on hand, (b) household goods and
       supplies and furnishings, (c) stamp and/or coin collections and other collections, (d) wearing apparel, (e) jewelry, (f) watches, (g)
       automobiles, (h) trucks, (i) trailers or other motor vehicles, U) boats, motors and accessories. As to each such item of property give the
       precise description and location, the approximate value of such property and whether or not such property is subject to any form of
       security interest, lien or encumbrance. If so, state the name and address of such holder of a security interest, lien or encumbrance, the
       nature of the instrument evidencing the same and the amount of the instrument. (If additional space is necessary, attach a separate
       sheet to this form.)




□      State whether any of your nonexempt personal property is in the hands of a third person . If so, describe the property involved, the
       person or persons so holding the property, the reason the property is so held and any consideration that may have passed therefor.




JD-CV-23a (Page 1 of 2) Rev. 6-2000                                                                                             www.jud.state. ct.us
                    Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 14 of 24

D List all real estate in your name which in total value is clearly sufficient to ensure full satisfaction of the judgment with
   interest and costs (where possible give street address).




D List your accounts receivable which in total value are clearly sufficient to ensure full satisfaction of the judgment with
    interest and costs giving a) the name of the party, b) the amount owed, and c) the date the debt was incurred. (If additional
    space is needed, attach a separate sheet to this form.)




                                                               II. EMPLOYER
D Is the Judgment Debtor employed by you?                 D NO             D YES (If yes, complete the information below)
   YOUR NAME, ADDRESS, AND TELEPHONE NO.


   EMPLOYEE'S NORMAL WORKING HOURS                                      IEMPLOYEE'S GROSS SALARY PER HOUR, WEEK, MONTH , OR YEAR
   THE DATES ON WHICH EMPLOYEE IS PAID FOR BOTH REGULAR AND OVERTIME WORK


   NAME, ADDRESS, AND TELEPHONE NO. OF THE BOOKKEEPER, PAYROLL CLERK OR OTHER PERSON WHO DISBURSES EMPLOYEE'S WAGES OR SALARY




                                                         Ill. FINANCIAL INSTITUTION
D Does the Judgment Debtor maintain an account of any kind with your institution?                 0 NO         □ YES
   (If yes, complete the information below. You may disclose only whether you hold funds of the judgment debtor on account and the
   balance of such funds if so held, up to the amount necessary to satisfy the judgment.)
   YOUR NAME, ADDRESS, AND TELEPHONE NO.


   NAME, ADDRESS, AND TELEPHONE NO. OF YOUR INSTITUTION


   ACCOUNT NO. OF EACH ACCOUN T                                        INAME IN WHICH THE ACCOUNT IS HELD


   PRESENT BALANC E IN EACH ACCOUNT


   IF JOINT ACCOUNT, THE NAME AND ADDRESS OF THE OTHER PERSON(S)



                             IV. THIRD PERSON IN POSSESSION OF JUDGMENT DEBTOR'S PROPERTY
[8] Are you in possession of nonexempt personal property belonging to the judgment debtor?                  D NO            0 YES
     (If yes, complete the following information.)
   YOUR NAME, ADDRESS , AND TELEPHONE NO.


   DESCRIBE THE PROPERTY, THE REASON YOU ARE HOLDING IT AN D ANY CONSIDERATION TH AT MAY HAVE PASSED FOR YOUR HOLDING THE PROPERTY.




   LOCATION OF THE PROPERTY



                         V. SIGNATURE OF PERSON COMPLETING THIS FORM OR AUTHORIZED AGENT
Ix] NOTE: Interrogatories served on a judgment debtor shall be signed by such debtor under penalty of false statement.
   SIGNED (Person completing form or authorized agent)     PRINT NAME OF PERSON SIGNING AT LEFT               DATE SIGNED



   JD-CV-23a (Page 2 of 2) Rev. 6-2000
Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 15 of 24




     EXHIBIT 4
                                          Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 16 of 24




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                                                                                          Agent: David Helfgott
                                                                                          36 Airport Road



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Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 17 of 24




     EXHIBIT 5
                      Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 18 of 24


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 POST JUDGMENT REMEDIES                                               STATE OF CONNECTICUT
 INTERROGATORIES                                                         SUPERIOR COURT
  JD-CV-23 Rev. 11-10                                                      www.jud.ct.gov
  Gen. Slal. §§ 52-321a, 52-351b, 52-352b,
. 52-3G1a, 52-361b, 52-40Da, 52-4 00c
                                                              Form JD--CV-23a must be attached to this form
           . .          H ..             Geographical                                                                          Docket number
       JudIcIa 1         ousmg           Area
  (R] District       D Session D number                           At US District Court of Connecticut                          3:23-CV-00903-MPS
  Address ol court (Number, street, (own, and zip code)
  450 Main Street, Suite A012, Hartford, CT 06103


                                                                                                                            1
  Dale of judgment                                                      Original amount of judgment                            Amount due on the judgment
  04/25/2024                                                            $2,152,787.36                                           $2,152,787.36
  Name of creditor (Person or business judgment is for)                Address of judgment creditor (Street and town)
  145 Sisson Avenue, LLC                                               91 South Main Street, Wallingford, CT 06492
  Name of judgment debtor (Person or business judgment is against)     Address of judgment debtor (S(ree( and town)
  Aron Puretz                                                          43 Fenway Circle, Staten Island, NY 10308-1240
  Name and address o[ person believed lo have assels of JUdgmenl debtor (I( applicable)
  PAXE Hartford Portfolio GP LLC - Agent: David Helfgott, 36 Airport Road, Lakewood, NJ 08701
  Dale interrogatories were served (Delivered)    Name and address of person lhal interrogatories must be returned lo
  06/18/2024 ,,_-,)                               Houston Putnam Lowry, Esq., 280 Trumbull Street, Floor 22, Hartford, CT 06103

  Instructions To:
 Judgment Creditor:
  Put an "X" in the box next lo the questions to be answered on form JD-CV-23a that is attached to /his form.
  Person who received interrogatories:
 Answer the questions indicated by an ''X" on form JD-GV-23a that is attached lo this form. You must give information that you have about the assets of the
 judgment debtor up to an amount clear enough lo satisfy the judgment indicated by the ''Amount due on the judgment" above. Place your answers in the
 space provided on the form. If you need more space lo answer the questions, use the space on the back of form JD-CV-23a or attach additional sheets lo
 this form.

  Notice
  Do not file the interrogatories, the notice of interrogatories or the objections to the interrogatories with the court.
  The person who received these interrogatories must answer and return them within 30 days of the date of their service ·
  (delivery) to the person named above.
 If the person who received these interrogatories does not answer and return them within 30 days or does not within 30 days
 disclose assets of the judgment debtor that are enough for execution, or if the person who received the interrogatories objects
 within 30 days, the judgment creditor may ask the court for additional discovery orders that may be necessary to make sure
 that disclosure is made including (1) an order for compliance with the interrogatories or (2) an order authorizing additional
 interrogatories. The judgment creditor may ask for and get discovery, including the taking of depositions, from any person
 served with interrogatories under the procedures for discovery in civil actions without the court ordering it. The court may
 order additional discovery as justice requires . If the person asked for discovery does not disclose the judgment debtor's
 assets, that person may be held in contempt of court. Attorney's fees may be allowed for counsel at a contempt hearing
 necessary to enforce a court order and for counsel at any discovery hearing required because these interrogatories were not
 answered.

 Notice Of Rights To Person Served
 1. Under Section 52-351 b of the General Statutes, you must disclose information about the amount, nature and location of
    the judgment debtor's assets up to an amount clearly enough in value for full satisfaction of the judgment with interest and
    costs.                   •
 2.   Under subsection (d) of Section 52-351b of the General Statutes, any party who must disclose information about the
      judgment debtor's assets may apply to the court to be protected from annoyance, embarrassment, oppression or undue
      burden or expense.
 3. Certain personal property of the judgment debtor is exempt from execution (cannot be used to satisfy judgment). The
    following list is a description of common types of property that are exempt from execution from a judgment debtor who is
    a natural person . (Section 52-352b of the General Statutes).
       (a) Apparel, bedding, foodstuffs, household furniture and appliances that are needed by the judgment debtor to live;
       (b) Tools, books, instruments, farm animals and livestock feed that are needed by the judgment debtor in the course
           of his or her occupation, or profession, farming operation or farming partnership;
       (c) Public assistance payments and any wages earned -by a public assistance recipient under an incentive earnings
           or similar program;
                                                                           (Continued 011 page 2)
                     Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 19 of 24




       (d) Health and disability insurance payments;
       (e) Health aids that are needed by the judgment debtor to work or to keep healthy;
       (f) Worker's compensation, social security, veterans and unemployment benefits;
       (g) Court approved payments for child support;
       (h) Arms (weapons) and military equipment, uniforms or musical instruments owned by any member of the militia or
            armed forces of the United States;
       (i) One motor vehicle worth up to $3,500.00. The value of the motor vehicle must be determined as the fair market
            value of the motor vehicle minus the amount of all liens and security interests which are on it;
       U) Wedding and engagement rings;
       (k) Residential utility deposits for one residence and one residential security deposit;
       (I) Any assets or interests of a judgment debtor in, or payments received by the judgment debtor from, a plan or
            arrangement described in Section 52-321 a of the General Statutes, including, but not limited to, certain trust or
            retirement income or certain retirement, education, or medical savings accounts;
       (m) Alimony and support, other than child support, but only to the extent that wages are exempt from execution under
            Section 52-361 a of the General Statutes;
      '(n) An award under a crime reparations act;
       (o) All benefits allowed by any association of persons in this state to support any of its members that are
           incapacitated by sickness or infirmity from attending to his or her usual business;
       (p) All moneys that are owed to the judgment debtor from any insurance company on any insurance policy on
           exempt property, up to the same amount that the property was exempt;
       (q) Burial plot for the judgment debtor and his or her immediate family;
       (r) Transfers of money that cannot be taken back (revoked) to an account held by a debt adjuster licensed under
           Sections 36a-655 to 36a-665 of the General Statutes for the benefit of creditors of the judgment debtor;
       (s) Any interest of the judgment debtor in any property worth not more than $1,000.00;
       (t) Any interest of the judgment debtor worth not more than $4,000.00 in any accrued dividend or interest under, or
           loan value of, any unmatured life insurance contract owned by the judgment debtor under which the insured is
           the judgment debtor or is an individual who the judgment debtor is a dependent of; and
       (u) The homestead (home) of the judgment debtor worth not more than $75,000.00, or, in the case of a money
           judgment arising out of services provided at a hospital worth not more than $125,000.00, the value must be
           determined as the fair market value of the real property minus the amount of any statutory or agreed on
           (consensual) lien which is on the property.




JD-CV-23 Rev. 11-10 (Page 2 of 2)
                     Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 20 of 24

                                                                    INSTRUCTIONS
JUDGMENT CREDITOR: Complete Name of Case and Docket No., put an "X" in the box next to the items to be answered.
PERSON SERVED WITH INTERROGATORIES: Answer the questions indicated by [x] . You must disclose assets of the judgment debtor up to an
amount clearly sufficient to satisfy the judgment indicated by the "Amount Due Thereon" on the attached form JD-CV-23. Place answers in space provided on
this form. If you need more room to answer these questions, use the space on page 2 of attached form JD-CV-23 or attach additional sheets. You must
answer the questions and return them to the person named on attached form JD-CV-23 within thirty days of the date of service.

 NAME OF CASE                                                                                                        DOCKET NO.
 145 Sisson Avenue, LLC vs. Aron Puretz                                                                             3:23CV903(MPS)

                                                              I. JUDGMENT DEBTOR
      STATE YOUR NAME, ADDRESS, AND TELEPHONE NO.
[x]

D Are you presently employed?                  0 NO               D YES (If yes, complete the information below)
      NAME, ADDRESS , AND TELEPHONE NO. OF YOUR EMPLOYER


      YOUR JOB TITLE OR POSITION


      NAME, ADDRESS OF EACH BOOKKEEPER, PAYROLL CLERK OR OTHER PERSON HAVING RECORDS OF SALARIES OR OTHER SUMS OF MONEY PAID TO YOU
      BY YOUR PRESENT EMPLOYER



      IF YOU RECEIVE ADDITIONAL COMPENSATION FOR OVERTIME , STATE (1) RATE OF OVERTIME PAY AND (2) THE AVERAGE NO. OF HOURS OF OVERTIME YOU
      WORK PER WEEK



      STATE THE DATE ON WHICH YOU ARE PAID FOR BOTH REGULAR AND OVERTIME WORK



       Are you receiving any income from any source not
□      disclosed in your answers to the foregoing questions?               □ NO            D YES (If yes, complete the information below)
      STATE THE SOURCE(S) OF SUCH INCOME                                                                       IAMOUNT RECEIVED EACH WEEK


      IF THERE ARE ANY PAYMENTS DUE FROM THE ABOVE SOURCE STATE (1) THE AMOUNT DUE AND (2) NAME AND ADDRESS OF PARTY FROM WHOM IT IS DUE




□      List all banks, savings and loan associations, credit unions or other financial institutions in which you maintain an account
       of any kind, giving in your answer the following : (You need only disclose assets clearly sufficient to ensure full satisfaction
       of the judgment with interest and costs.)
      NAME AND ADDRESS OF INSTITUTION                                           NAME AN D ADDRESS OF INSTITUTION


      NAME IN WHICH ACCOUNT IS HELD                                             NAME IN WHICH ACCOUNT IS HELD


      ACCOUNT NO.                       I PRESENT BALANCE($)                    ACCOUNT NO.                          IPRESENT BALANCE ($)


      IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)                 IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)




□      List all nonexempt personal property in which you have an interest, whether legal or beneficial, which in total value is clearly sufficient to
       ensure full satisfaction of the judgment with interest and costs, including but not limited to (a) cash on hand, (b) household goods and
       supplies and furnishings , (c) stamp and/or coin collections and other collections, (d) wearing apparel, (e) jewelry, (f) watches, (g)
       automobiles, (h) trucks , (i) trailers or other motor vehicles , U) boats, motors and accessories. As to each such item of property give the
       precise description and location, the approximate value of such property and whether or not such property is subject to any form of
       security interest, lien or encumbrance. If so, state the name and address of such holder of a security interest, lien or encumbrance, the
       nature of the instrument evidencing the same and the amount of the instrument. (If additional space is necessary, attach a separate
       sheet to this form.)




□      State whether any of your nonexempt personal property is in the hands of a third person . If so, describe the property involved, the
       person or persons so holding the property, the reason the property is so held and any consideration that may have passed therefor.




JD-CV-23a (Page 1 of 2) Rev. 6-2000                                                                                             www.jud. state. ct. us
                     Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 21 of 24

D List all real estate in your name which in total value is clearly sufficient to ensure full satisfaction of the judgment with
    interest and costs (where possible give street address).




D List your accounts receivable which in total value are clearly sufficient to ensure full satisfaction of the judgment with
    interest and costs giving a) the name of the party, b) the amount owed, and c) the date the debt was incurred. (If additional
    space is needed, attach a separate sheet to this form.)




                                                               II. EMPLOYER
D Is the Judgment Debtor employed by you?                 D NO              D YES (If yes, complete the information below)
   YOUR NAME, ADDRESS, AND TELEPHONE NO.


   EMPLOYEE'S NORMAL WORKING HOURS                                      IEMPLOYEE'S GROSS SALARY PER HOUR, WEEK, MONTH , OR YEAR


   THE DATES ON WHICH EMPLOYEE IS PAID FOR BOTH REGULAR AND OVERTIME WORK


   NAME, ADDRESS , AND TELEPHONE NO. OF THE BOOKKEEPER , PAYROLL CLERK OR OTHER PERSON WHO DISBURSES EMPLOYEE'S WAGES OR SALARY




                                                         Ill. FINANCIAL INSTITUTION
D Does the Judgment Debtor maintain an account of any kind with your institution?                 D NO          □ YES
   (If yes, complete the information below. You may disclose only whether you hold funds of the judgment debtor on account and the
   balance of such funds if so held, up to the amount necessary to satisfy the judgment.)
   YOUR NAME, ADDRESS, AND TELEPHONE NO.


   NAME, ADDRESS, AND TELEPHONE NO. OF YOUR INSTITUTION


   ACCOUNT NO. OF EACH ACCOUNT                                          INAME IN WHICH THE ACCOUNT IS HELD
   PRESENT BALANCE IN EACH ACCOUNT


   IF JOINT ACCOUNT, THE NAME AND ADDRESS OF THE OTHER PERSON(S)



                             IV. THIRD PERSON IN POSSESSION OF JUDGMENT DEBTOR'S PROPERTY
~ Are you in possession of nonexempt personal property belonging to the judgment debtor?                     D NO            □ YES
     (If yes, complete the following information.)
   YOUR NAME, ADDRESS, AND TELEPHONE NO.


   DESCRIBE THE PROPERTY, THE REASON YOU ARE HOLDING IT AND ANY CONSIDERATION THAT MAY HAVE PASSED FOR YOUR HOLDING THE PROPERTY.




   LOCATION OF THE PROPERTY



                         V. SIGNATURE OF PERSON COMPLETING THIS FORM OR AUTHORIZED AGENT
[x] NOTE: Interrogatories served on a judgment debtor shall be signed by such debtor under penalty of false statement.
   SIGNED (Person completing form or authorized agent)     PRINT NAME OF PERSON SIGNING AT LEFT                DATE SIGNED



   JD-CV-23a (Page 2 of 2) Rev. 6-2000
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     EXHIBIT 6
                                            Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 23 of 24




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                                                                                              Agent: David Helfgott
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 Case 3:23-cv-00903-MPS Document 62 Filed 06/28/24 Page 24 of 24




                                           CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing was
mailed on this 28 th day of June, 2024 to:

Aron Puretz
43 Fenway Circle
Staten Island, New York 10308-1240




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action\ 145 Sisson v. Gurantor affidavit of returned PJ-INT 2024-06-28.doc
